Case 06-01070-whd   Doc 1   Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document     Page 1 of 28
Case 06-01070-whd   Doc 1   Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document     Page 2 of 28
Case 06-01070-whd   Doc 1   Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document     Page 3 of 28
Case 06-01070-whd   Doc 1   Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document     Page 4 of 28
Case 06-01070-whd   Doc 1   Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document     Page 5 of 28
Case 06-01070-whd   Doc 1   Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document     Page 6 of 28
Case 06-01070-whd   Doc 1   Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document     Page 7 of 28
Case 06-01070-whd   Doc 1   Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document     Page 8 of 28
Case 06-01070-whd   Doc 1   Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document     Page 9 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 10 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 11 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 12 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 13 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 14 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 15 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 16 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 17 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 18 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 19 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 20 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 21 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 22 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 23 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 24 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 25 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 26 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 27 of 28
Case 06-01070-whd   Doc 1    Filed 06/01/06 Entered 06/01/06 12:09:53   Desc Main
                            Document      Page 28 of 28
